
McKinney, J.,
delivered the opinion of the Court.
The defendants, who are the members of the “Knoxville Iron Company,” an incorporated body, were indicted in the Circuit Court of Knox, at the June Term, 1856, for issuing a certain “ change bill or ticket,” in the words and figures following:
“ Dray Ticket for Fifty Cents, Knoxville Iron Co.”
The Court, on motion of the defendants, quashed the indictment; and the Attorney General, on behalf of the State, prosecuted an appeal in error to this Court.
The statute prohibits the issuance of “ any change bills, or tickets, or instruments of any amount or denomination whatever, whether the same be greater or less than one dollar — to be issued or passed as money, or to supply the place of change, or to be passed, or circulated as currency, or money, by delivery, or endorsement, or otherwise; other than the notes, bills, or other authorized issues of the chartered Banks of Tennessee;” and for every violation of the statute, the person or persons, shall, on conviction, be fined in a sum not less than three thousand dollars, and be imprisoned not less than six months, nor more than two years.
*697The judgment of the Circuit Court, quashing the indictment, is so obviously correct, that it is not deemed necessary to attempt its vindication by argument.
The instrument set forth in the indictment, is, in effect, a mere memorandum, or acknowledgment of indebtedness on the part of the company, or a mode of keeping the accounts between the company and the drayman. It is ■ clearly not a change bill, or ticket, or instrument, within either the letter or spirit of the statute. And the issuance of such an instrument is not in contravention of any policy or statute of this State.
Judgment affirmed.
